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       Mesa, Arizona 85201
   5   T: (480) 464-1111 F: (480) 464-5692
       Email: centraldocket@jacksonwhitelaw.com
   6   Attorneys for Debtor Royan, Inc.
       By:    Kelly G. Black, No. 016376
   7
                                 UNITED STATES BANKRUPTCY COURT
   8
                                            DISTRICT OF ARIZONA
   9
       In re:                                               No. 2:11-bk-19813
  10
       Royan, Inc.,                                         Proceedings under Chapter 11
  11
          Debtor.                                           Application for Interim Payment and
  12                                                        Compensation of Attorney Fees and Costs
                                                            and For Order and Judgment Thereon
  13                                                        (First Application)
  14                                                        and
  15                                                        Application for Appointment Nunc Pro
                                                            Tunc
  16
                                                            Assigned to: Honorable George B. Nielsen, Jr.
  17
                Jackson White, P.C., a professional corporation (hereinafter “Applicant”), counsel for
  18
       Royan, Inc., (hereinafter “Debtor-in-Possession”), hereby makes its Application for Interim
  19
       Payment and Compensation of Attorney Fees and Costs and for Order and Judgment Thereon
  20
       (First Application) (hereinafter “Application”).
  21
                In support of its Application, Applicant submits its time records for the period of July 12,
  22
       2011 through November 12, 2011 (hereinafter “Application Period”), attached hereto as Exhibit
  23
       “A” and incorporated herein by reference. Applicant’s cost records (including an itemization of
  24
       expenses incurred) for the same period is likewise attached hereto as Exhibit “B” and
  25
       incorporated herein by reference. Costs incurred during the Application Period but posted after
  26
       the Application Period will be provided in a future final or interim application. In further
  27
       support of its Application, Applicant respectfully represents as follows:
  28
Case 2:11-bk-19813-GBN          Doc 31 Filed 11/14/11 Entered 11/14/11 11:49:19                Desc      Page 1
                                Main Document    Page 1 of 16
   1   I.     Summary
   2          A.      Background

   3          1.      On July 11, 2011, Debtor in the above-captioned case filed a petition for relief

   4   under Chapter 11 of the United States Bankruptcy Code. The case is currently pending before

   5   this Court as a case under Chapter 11.

   6          2.      Debtor-in-Possession applied for Applicant’s appointment as counsel on

   7   November 8, 2011 (Doc 26), and Applicant submitted its Verified Statement of Professional

   8   pursuant to FRBP 2014 and 2016 (Doc 27), and was appointed effective November 8, 2011 (Doc

   9   30). As directed at a status conference (Doc 23), the application requested appointment as of

  10   November 8, 2011. If counsel requested fees and costs before November 8, 2011, counsel was

  11   directed to file and notice a request for nunc pro tunc appointment separate from the 2014

  12   application.

  13          3.      Applicant has served as counsel for Debtor-in-Possession in the above entitled

  14   estate up to and through the filing of this Application. Applicant was employed by the Debtor-

  15   in-Possession to perform actual and necessary services with the understanding that Applicant’s

  16   compensation would be as determined by the Court under the criterion set forth in 11 U.S.C. §

  17   330 of the Bankruptcy Code, including the cost of comparable services other than a case under

  18   the Bankruptcy Code.

  19          4.      During the Application period, Applicant spent 29.0 hours in its representation of

  20   Debtor-in-Possession. Based upon Applicant’s ordinary hourly rates in effect at the time said

  21   services were rendered, Applicant’s total fees are $7,886.50. In the exercise of billing judgment,

  22   Applicant has discounted the fees to $7,178.50.

  23          5.      In addition to the foregoing, Applicant incurred out-of-pocket expenses for which

  24   Applicant is seeking reimbursement in the total amount of $1,108.77.

  25          6.      Total fees and costs are $8,287.27, to be paid by Royan, Inc. as agreed under the

  26   terms of the Retainer Agreement between Debtor and Applicant.

  27          7.      The services for which compensation is requested were rendered on behalf of the

  28   Debtor-in-Possession and compensation is sought pursuant to 11 U.S.C. § 330(a), 331, and
Case 2:11-bk-19813-GBN        Doc 31 Filed 11/14/11 Entered 11/14/11 11:49:19                Desc        Page 2
                              Main Document    Page 2 of 16
   1   503(a) and (b), Rule 2016(a), Fed. R. Bankr. P., and in compliance with the Order Appointing
   2   Counsel and the Guidelines of the Office of the United States Trustee for the District of Arizona.
   3          8.      Except as Applicant may be entitled to receive compensation herein, Applicant
   4   has no arrangements with any other parties whatsoever to pay Applicant for the services of
   5   Applicant to the estate, nor has Applicant received any funds from any parties whatsoever for the
   6   services rendered to the estate. Further, Applicant has not made any arrangement to share any
   7   compensation received by order of this Court with any party whatsoever, nor does Applicant
   8   have any arrangements for sharing of compensation herein awarded, except between members
   9   and/or regular associates of Applicant’s firm. Applicant has no agreement to share compensation
  10   received or to be received with any person other than the normal division of fees that, as a matter
  11   of course, occurs between attorneys who are members of Applicant’s firm. As previously
  12   described in the Verified Statement filed in this matter, Applicant is a disinterested person
  13   defined in 11 U.S.C.§ 101(14) and does not hold or represent any interest adverse to the estate.
  14          9.      The names of all Applicant’s professionals and paraprofessionals requesting fees
  15   and the hourly rate charged by each is as follows:
  16                  Professional                           Rate
  17                  Kelly G. Black                         $295.00
  18                  Terri Thompson                         $120.00
  19                  Ashley Preach                          $120.00
  20          B.      Case Status

  21          1.      There are no other applications for administrative expenses pending at this time.

  22          2.      Since the filing of the Petition, Applicant has assisted Debtor in completing the

  23   schedules and statements, participated with Debtor in the Initial Debtor Interview with the Office

  24   of the United States Trustee, participated with Debtor in the Meeting of Creditors and Status

  25   Conference, communicated regarding a potential sale of assets and assignment of lease, and

  26   prepared and filed a motion to assume Debtor’s lease of the business premises it occupies.

  27          3.      Any United States Trustee’s fees which have not been paid and any monthly

  28   operating reports which have not been filed are anticipated to be paid and filed promptly.
Case 2:11-bk-19813-GBN         Doc 31 Filed 11/14/11 Entered 11/14/11 11:49:19                Desc     Page 3
                               Main Document    Page 3 of 16
   1           C.        Project Category Summaries

   2           The professional services provided by Applicant, and their corresponding fees, are

   3   summarized in the following sections.

   4                     1.     B110 Case Administration

   5           This project category includes coordination and compliance activities, including

   6   preparation of statement of financial affairs; schedules; maintenance of creditor list; United

   7   States Trustee interim statements and operating reports; contacts with the United States Trustee;

   8   and general creditor inquiries.

   9           During the Application Period, Applicant has performed the following services within

  10   this project category: assisted Debtor in completing the schedules and statements, participated

  11   with Debtor in the Initial Debtor Interview with the Office of the United States Trustee,

  12   participated with Debtor in the Meeting of Creditors and Status Conference.

  13           This project category is of an ongoing nature.

  14           The foregoing services were necessary and conferred a benefit to the estate for the reason

  15   that the Code requires a Debtor-in-Possession to perform these duties.

  16           The following summarizes the number of hours spent and the amount of compensation

  17   requested for each professional and paraprofessional for the foregoing project:

  18                                  Case
        Project Category      B110    Administration
  19    Professional          Hours   Rate      Discount Net Fee

  20    Ashley Preach         0.75    120.00    -          90.00
  21    Kelly G. Black        9.70    295.00    -          2,861.50
  22
        Terri Thompson        1.80    120.00    120.00     96.00
  23
        Total for B110        12.25   258.57    120.00     3,047.50
  24

  25                     2.     B150 Meetings and Communications with Creditors

  26           This project category includes preparing for and attending the conference of creditors, the

  27   § 341(a) meeting and other creditors' committee meetings.

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Case 2:11-bk-19813-GBN           Doc 31 Filed 11/14/11 Entered 11/14/11 11:49:19              Desc      Page 4
                                 Main Document    Page 4 of 16
   1           During the Application Period, Applicant has performed the following services within
   2   this project category: attendance at the meeting of creditors.
   3           This project category is concluded as to the meeting of creditors, though related follow-
   4   up matters may arise.
   5           The foregoing services were necessary and conferred a benefit to the estate for the reason
   6   that the Code requires a Debtor-in-Possession to perform these duties.
   7           The following summarizes the number of hours spent and the amount of compensation
   8   requested for each professional and paraprofessional for the foregoing project:
   9    Project Category        B150       Meetings and Communications w/Creditors

  10    Professional            Hours      Rate     Discount     Net Fee
  11
        Kelly G. Black          1.90       295.00   -            560.50
  12
        Total for B150          1.90       295.00   -            560.50
  13

  14                     3.    B160 Fee/Employment Applications

  15           This project category includes preparation of employment and fee applications for

  16   Applicant or others, as well as motions to establish interim procedures.

  17           During the Application Period, Applicant has performed the following services within

  18   this project category: applied for Applicant’s appointment; drafted application for appointment

  19   of an accountant to assist Debtor with the monthly operating reports and other duties; and

  20   prepared the present Application.

  21           This project category is of a recurring nature.

  22           The foregoing services were necessary and conferred a benefit to the estate for the reason

  23   that the Code requires a Debtor-in-Possession to perform these duties.

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Case 2:11-bk-19813-GBN         Doc 31 Filed 11/14/11 Entered 11/14/11 11:49:19               Desc     Page 5
                               Main Document    Page 5 of 16
   1           The following summarizes the number of hours spent and the amount of compensation
   2   requested for each professional and paraprofessional for the foregoing project:
   3    Project Category        B160        Fee/Employment Applications

   4    Professional            Hours       Rate     Discount   Net Fee
   5
        Kelly G. Black          5.30      295.00     708.00     855.50
   6
        Terri Thompson          0.50      120.00     -          60.00
   7
        Total for B160          5.80      279.91     -          915.50
   8

   9                     4.    B185 Assumption/Rejection of Leases and Executory Contracts

  10           This project category includes the review of leases and executory contracts, negotiations

  11   with other parties to the contracts, and the preparation of motions, objections, or stipulations

  12   regarding their assumption or rejection.

  13           During the Application Period, Applicant has performed the following services within

  14   this project category: communicated regarding a potential sale of assets and assignment of lease,

  15   and prepared and filed a motion to assume Debtor’s lease of the business premises it occupies.

  16           This project category is ongoing.

  17           The foregoing services were necessary and conferred a benefit to the estate for the reason

  18   that the Code requires court approval the Debtor-in-Possession assumption of a lease.

  19           The following summarizes the number of hours spent and the amount of compensation

  20   requested for each professional and paraprofessional for the foregoing project:

  21    Project Category        B185        Assumption/Rejection of Leases/ Contract

  22    Professional            Hours       Rate     Discount   Net Fee
  23    Kelly G. Black          9.00      295.00     -          2,655.00
  24
        Total for B185          9.00      295.00     -          2,655.00
  25

  26           D.        Summary of Costs

  27           The costs for which Applicant seeks reimbursement total $1,108.77. The principal cost

  28   was the filing fee, in the amount of $1,039.00. The remaining expenses involve photocopies,

Case 2:11-bk-19813-GBN          Doc 31 Filed 11/14/11 Entered 11/14/11 11:49:19                Desc       Page 6
                                Main Document    Page 6 of 16
   1   postage, mileage and parking expenses. The amount charged by Applicant for in-house
   2   photocopies is 15 cents per sheet. Postage is charged at actual cost. All costs are charged at
   3   Applicant’s actual cost.
   4          The amount Applicant has disbursed for actual and necessary expenses in connection
   5   with the estate are summarized and itemized on the attached Exhibit “B.”
   6   II.    Standards for Evaluating Fee Application
   7          The fees billed by Applicant to the Debtor-in-Possession for professional services
   8   rendered during the application period total $7,178.50. In accordance with 11 U.S.C. § 330, this
   9   amount was calculated using the hourly rate for the attorneys involved. See also In re Yermakov,
  10   718 F.2d 1465, 1471 (9th Cir. 1983). This has also been referred to as the “lodestar” or basic fee
  11   which, if warranted, can be adjusted upward or downward. In that regard, the Ninth Circuit in
  12   Yermakov made specific references to Johnson v. Georgia Highway Express, Inc., 488 F.2d 714,
  13   717-19 (5th Cir. 1974), in which the Fifth Circuit listed twelve factors which should be
  14   considered in awarding attorneys’ fees. These “Johnson factors” have been referred to and
  15   utilized by many courts in considering and awarding attorney’s fees in bankruptcy cases. See In
  16   re Nucorp Energy, Inc., 764 F.2d 655 (9th Cir. 1985).
  17          In a decision of the Ninth Circuit Bankruptcy Appellate Panel, the Panel concluded that
  18   the “lodestar” approach, coupled with consideration of the “Johnson factors” is the appropriate
  19   standard to be applied in awarding fees in a bankruptcy case. See In re Powerine Oil Co., 71
  20   Bankr. 767 (Bankr. 9th Cir. 1986).
  21          During the Application Period, Applicant has advised the Debtor-in-Possession in
  22   connection with the administration of the above-entitled estate on an ongoing basis and has
  23   prepared numerous letters, documents, pleadings, and other writings concerning same and has
  24   attended conferences, hearings and made other appearances for and on behalf of the Debtor-in-
  25   Possession and has performed numerous legal services for and on behalf of the Debtor-in-
  26   Possession, which services are itemized on the attached Exhibit “A,” constituting Applicant’s
  27   time records concerning the above-entitled estate.
  28
Case 2:11-bk-19813-GBN        Doc 31 Filed 11/14/11 Entered 11/14/11 11:49:19                Desc       Page 7
                              Main Document    Page 7 of 16
   1          Applicant has maintained daily and monthly records reflecting the actual and necessary
   2   time expended by said law firm in the performance of the services for which compensation is
   3   herein sought. These time records are presented to be merely a resume of the overall services
   4   performed by Applicant and do not purport to include each and every service performed, nor are
   5   they represented to constitute a limit of the time expended in this case, for undoubtedly there are
   6   numerous services for which time was not recorded. However, the records do indicate the
   7   general nature of the services performed and the absolute minimum time actually expended for
   8   consideration as one of the criterion set forth in 11 U.S.C. §330 for the Application Period.
   9          The results obtained by Applicant within the time frames of this Application illustrate
  10   that the Applicant:
  11          1.      Used the skill required to perform the legal services properly;
  12          2.      Provided services necessary to the administration of the case; and
  13          3.      Performed the services within a reasonable amount of time commensurate with
  14   the complexity, importance and nature of each task.
  15          Furthermore, based upon the results obtained by Applicant within the time frame of this
  16   Application and the rates charged by the Applicant for the services performed, the compensation
  17   requested is reasonable based on the customary compensation charged by comparably skilled
  18   practitioners in non-bankruptcy cases.
  19          The fees and costs requested will be paid from Debtor’s pre-petition retainer deposit.
  20          With respect to nunc pro tunc relief, the debtor expressly contracted with Applicant to
  21   perform the services which Applicant has performed and for which Applicant requests approval.
  22   Applicant has spoken with Royan, Inc.’s vice-president, Mohsen Nassirian, who is authorized to
  23   direct all bankruptcy matters. Mr. Nassirian has no objection to the entry of nunc pro tunc relief.
  24   Notice of this application and of the date within which to object hereto is being served on all
  25   creditors and parties in interest. Debtor-in-Possession applied for Applicant’s appointment as
  26   counsel on November 8, 2011 (Doc 26), and Applicant submitted its Verified Statement of
  27   Professional pursuant to FRBP 2014 and 2016 (Doc 27) the same date. Applicant is and, at all
  28   times since the Petition Date has been, a disinterested person as that term is defined in section
Case 2:11-bk-19813-GBN         Doc 31 Filed 11/14/11 Entered 11/14/11 11:49:19                Desc       Page 8
                               Main Document    Page 8 of 16
   1   101(14) of the Code, and Applicant holds no interest adverse to the estate. Applicant has
   2   performed the required work competently and cost-effectively. Neither the Debtor nor any other
   3   party in interest will suffer prejudice from the granting of nunc pro tunc relief. Applicant filed
   4   this bankruptcy case on an emergency basis. Applicant secured Debtor’s written approval to
   5   serve as counsel in the bankruptcy case before filing the Petition, and believed that the
   6   application had been prepared as part of that effort. Due to the emergency nature of the filing,
   7   however, the application was not signed and submitted at that time. After Applicant discovered
   8   the omission, Debtor applied for Applicant’s appointment as counsel of record and Applicant
   9   submitted the verified statement required by Rules 2014 and 2016. For the foregoing reasons,
  10   nunc pro tunc appointment is appropriate.
  11   III.   Conclusion
  12          Wherefore, Kelly G. Black and Jackson White, P.C., pray that Applicant be awarded an
  13   interim allowance, pursuant to 11 U.S.C. § 331, as attorney for Debtor-in-Possession in the
  14   amount of $7,178.50, together with reimbursement for actual and necessary costs expended in
  15   the amount of $1039.88, for a total award of $8,287.27, all subject to review and adjustment for
  16   determination of reasonable compensation based upon criteria set forth in 11 U.S.C. § 330 and
  17   for such other and further relief as the Court deems equitable.
  18          Based upon the foregoing, Applicant respectfully requests:
  19          A.      Allowance and approval of its fees for the Application Period totaling $7,178.50,
  20   which will be paid by Debtor;
  21          B.      Reimbursement of $1039.88 in actual and necessary expenses, which Applicant
  22   has incurred and paid during the Application Period in connection with the rendering of such
  23   professional services, for a total award of $8,287.27;
  24          C.      For a Judgment against Royan, Inc. for the total award in the sum of $8,287.27;
  25   and
  26

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Case 2:11-bk-19813-GBN         Doc 31 Filed 11/14/11 Entered 11/14/11 11:49:19                 Desc     Page 9
                               Main Document    Page 9 of 16
   1            D.        Such other and further relief as this Court deems just and proper.
   2            DATED this 14th day of November, 2011.

   3                                                       JACKSON WHITE, P.C.

   4
                                                           /s/ Kelly G. Black
   5                                                       Attorneys for Debtor Royan, Inc.
                                                           By: Kelly G. Black, No. 016376
   6
       COPIES served electronically as follows:
   7
       PATTY CHAN on behalf of U.S. Trustee U.S. TRUSTEE
   8   patty.chan@usdoj.gov, Jean.L.LaShelle@usdoj.gov

   9   TODD B. TUGGLE on behalf of Creditor National Retail Properties
       ttuggle@jsslaw.com
  10

  11   /s/ Kelly G. Black
       25782-001\feeapp
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Case 2:11-bk-19813-GBN            Doc 31 Filed 11/14/11 Entered 11/14/11 11:49:19              Desc   Page 10
                                  Main Document    Page 10 of 16
                               Exhibit A

Case 2:11-bk-19813-GBN   Doc 31 Filed 11/14/11 Entered 11/14/11 11:49:19   Desc
                         Main Document    Page 11 of 16
Project Category B110            Case Administration
 Date        Init. Narrative                                                       Units Rate Discount Net Exp.
 7/11/2011 KGB Draft e-mail to opposing counsel with copy of Chapter 11             0.1 295.00    0.00   29.50
                   Petition
 7/12/2011 KGB Receive and review Meeting of Creditors notice; Draft                0.1 295.00    0.00     29.50
                   e-mail to client regarding same
 7/12/2011 KGB Receive and review deficiency notice; Draft e-mail to client         0.1 295.00    0.00     29.50
                   enclosing another copy of questionnaire for schedules and
                   statements
 7/12/2011 KGB Receive and review e-mail regarding initial debtor interview         0.3 295.00    0.00     88.50
                   and related guidelines and checklists; Draft e-mail to client
                   regarding same; Forward for docketing and calendaring
 7/13/2011 KGB Receive and review notice of Meeting of Creditors;                   0.1 295.00    0.00     29.50
                   Forward to Mohsen
 7/13/2011 TT Docket deadlines for IDI meeting and review documents                 0.2 120.00   24.00      0.00
                   from Trustee.
 7/13/2011 KGB Voice message from Mohsen regarding documents and                    0.1 295.00    0.00     29.50
                   additional steps; Draft responsive e-mail
 7/14/2011 TT Follow up with Mr. Black on emailing documents to clients.            0.3 120.00   36.00      0.00
 7/18/2011 KGB Receive and review Notice of Appearance                              0.1 295.00    0.00     29.50
 7/21/2011 TT Conference with Mr. Black and Ms. Preach concerning                   0.3 120.00    0.00     36.00
                   requesting continuance for IDI Meeting set for August 4,
                   2011.
 7/26/2011 KGB Telephone conference with Moe regarding status,                      0.3 295.00    0.00     88.50
                   documents for analyst/IDI
 7/27/2011 KGB Conference with Moe regarding IDI compliance and                     0.8 295.00    0.00   236.00
                   documents (0.70); Telephone call to Clark Fox regarding
                   potential service as Chapter 11 accountant (0.10)
 7/27/2011 TT Update deadline to file Declaration for Electronic Filing.            0.2 120.00   24.00      0.00
 8/4/2011 KGB Receive and review deficiency memorandum; Revise                      0.2 295.00    0.00     59.00
                   motion and order; Direct filing of same
 8/4/2011 TT E-file Motion for Extension of Time to File Schedules and              0.5 120.00    0.00     60.00
                   Statements; proposed Order and Notice of Lodging
                   Proposed Order. e-mail copies according to mailing
                   certificate on Motion. Mail copies pursuant to mailing
                   certificate.
 8/9/2011 AP Drafted Second Motion for Extension, Notice of Lodging                 0.8 120.00    0.00     90.00
                   Order and Second Order for Extension. Filed documents
                   with the court. Contacted client and instructed client to
                   provide additional documents.
 8/9/2011 KGB Conference with Ms. Preach regarding status of statements             0.3 295.00    0.00     88.50
                   and schedules; Draft Motion for Extension and direct filing
 8/10/2011 KGB Receive and review Objection to Motion to Extend;                    0.2 295.00    0.00     59.00

                                                                                                         Page: 1
       Case 2:11-bk-19813-GBN           Doc 31 Filed 11/14/11 Entered 11/14/11 11:49:19             Desc
                                        Main Document    Page 12 of 16
                     Conference with Ms. Preach regarding explaining urgency
                     to Moe
 8/11/2011 KGB Telephone conferences with client, analyst regarding               0.5 295.00     0.00   147.50
                     rescheduling of IDI; Exchange e-mails regarding same
 8/12/2011 KGB Final review of schedules and statements                           1.2 295.00     0.00   354.00
 8/15/2011 KGB Receive and review notice of hearing (0.10); IDI, with             2.5 295.00     0.00   737.50
                     travel (2.40)
 8/16/2011 KGB Follow up on filing of electronic filing declaration               0.1 295.00     0.00     29.50
 8/17/2011 KGB Receive and review minutes of Meeting of Creditors, notice         0.1 295.00     0.00     29.50
                     of hearing certificate
 8/22/2011 KGB Telephone call from Moe regarding status conference                0.2 295.00     0.00     59.00
 8/29/2011 KGB Telephone call from Moe regarding documents to Trustee             0.1 295.00     0.00     29.50
                     (he will fax me and hand-deliver to UST's office
 8/31/2011 TT Review facsimile received from client.                              0.3 120.00    36.00     0.00
 9/27/2011 KGB Chapter 11 Status Hearing, with travel (1.70); Conference          1.8 295.00     0.00   531.00
                     with Moe regarding operating reports (0.10)
 11/10/2011 KGB Draft e-mail to Moe regarding operating reports (0.10);           0.4 295.00     0.00   118.00
                     Telephone call to Clark Fox, accountant (left message)
                     (0.10); Draft e-mail to Mr. Fox outlining needed help for
                     operating reports (0.20)
 11/10/2011 KGB Telephone call from Moe regarding operating reports (he           0.1 295.00     0.00     29.50
                     will contact accountant also)
         Total for B110                                                          12.3 258.57   120.00 3047.50
Project Category B150             Meetings and Communications w/Creditors
 Date        Init. Narrative                                                     Units Rate Discount Net Exp.
 8/16/2011 KGB Meeting of Creditors, with travel                                  1.9 295.00    0.00 560.50
         Total for B150                                                           1.9 295.00    0.00 560.50
Project Category B160             Fee/Employment Applications
 Date        Init. Narrative                                                     Units Rate Discount Net Exp.
 8/23/2011 TT Prepare Application for Appointment of Attorneys for                0.5 120.00    0.00   60.00
                     Debtor-in-Possession Effective as of the Petition Date
                     Pursuant to Rule 2014 and Verified Statement Pursuant to
                     FRBP 2014 and 2016

11/8/2011 KGB Finalize application to appoint and Rule 2014/2016                  0.2 295.00     0.00     59.00
                   statements
11/10/2011 KGB Draft Verified Statement for accountant (0.20); Update             0.3 295.00     0.00     88.50
                   e-mail to Mr. Fox to include discussion of Verified
                   Statement and conflicts information (0.10)
11/12/2011 KGB Draft and file fee application                                     4.8 295.00 708.00     708.00
       Total for B160                                                             5.8 279.91 708.00     915.50



                                                                                                        Page: 2
       Case 2:11-bk-19813-GBN          Doc 31 Filed 11/14/11 Entered 11/14/11 11:49:19             Desc
                                       Main Document    Page 13 of 16
Project Category B185           Assumption/Rejection of Leases/ Contract
 Date        Init. Narrative                                                        Units Rate Discount Net Exp.
 7/14/2011 KGB Telephone call to Tim Larson (out of town); Draft e-mail to           0.2 295.00    0.00   59.00
                   Mohsen regarding status
 7/18/2011 KGB Telephone call from Moe regarding call from corporate                 0.1 295.00     0.00     29.50
                   (none yet)
 7/18/2011 KGB Receive Message from Tim Larson; Return call to same                  0.6 295.00     0.00   177.00
                   regarding sale and assumption of lease; Review lease and
                   send to Larson with comments; forward to Moe
 7/20/2011 KGB Voice message from client regarding corporate's desire to             0.1 295.00     0.00     29.50
                   assume lease
 7/29/2011 KGB Telephone call to Tim Larson regarding sale of assets and             0.3 295.00     0.00     88.50
                   assumption of lease; Draft e-mail to Moe regarding
                   discussion
 9/22/2011 KGB Voice message from Moe; Telephone call to same                        0.3 295.00     0.00     88.50
                   regarding corporate's likely decision per corporate counsel
                   (not final per Moe), regarding increase in sales activity, and
                   regarding status conference next week
 11/8/2011 KGB Initial draft Motion to Assume Real Property Lease [0.50];            7.1 295.00     0.00 2094.50
                   Conference with Moe, with travel [1.90]; Revise Motion to
                   Assume [3.20]; Draft declation [0.70]; Telephone
                   conferences with Moe regarding Motion and Declaration
                   [0.20]; Draft Notice [0.30]; File and serve Motion and
                   Notice [0.30]
 11/9/2011 KGB Telephone call to opposing counsel Tuggle regarding                   0.1 295.00     0.00     29.50
                    Motion (not available)
 11/10/2011 KGB Telephone call to Moe regarding payment, initial reaction            0.2 295.00     0.00     59.00
                    from opposing counsel
        Total for B185                                                               9.0 295.00     0.00 2655.00
Grand Totals                                                                        29.0 276.56   828.00 7178.50




                                                                                                           Page: 3
       Case 2:11-bk-19813-GBN            Doc 31 Filed 11/14/11 Entered 11/14/11 11:49:19              Desc
                                         Main Document    Page 14 of 16
                               Exhibit B

Case 2:11-bk-19813-GBN   Doc 31 Filed 11/14/11 Entered 11/14/11 11:49:19   Desc
                         Main Document    Page 15 of 16
Project Category      E108            Postage

Date      Narrative                                              Units Rate      Discount    Net Exp.
7/12/2011 Postage                                                1.0    0.44     0.00        0.44

    Total for E108                                               1.0     0.44    0.00        0.44


Project Category      E109            Local travel and parking

Date           Narrative                                         Units   Rate     Discount   Net Exp.
8/15/2011      Travel to/from IDI                                37.4    .555                20.76
8/15/2011      Parking at IDI                                    1       3.00                3.00
8/16/2011      Travel to/from Meeting of Cr.                     37.5    .555                20.81
8/16/2011      Parking for Meeting of Cr.                        1       2.00                2.00
9/27/2011      Travel to/from Status Conf.                       37.4    .555                20.76
9/27/2011      Parking for Status Conf.                          1       2.00                2.00

    Total for E109                                               115.3   0.61     0.00       69.33


Project Category      E112            Court fees

Date      Narrative                                              Units   Rate    Discount    Net Exp.
7/12/2011 Chapter 11 Filing Fee                                  1.0     1039.00 0.00        1039.00

    Total for E112                                               1.0     1039.00 0.00        1039.00




Grand Totals                                                     117.3    9.45    0.00       1108.77




    Case 2:11-bk-19813-GBN             Doc 31 Filed 11/14/11 Entered 11/14/11 11:49:19                  Desc
                                       Main Document    Page 16 of 16
